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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                       IN THE UNITED STATES DISTRICT COURT                            November 08, 2021
                       FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

JOSE A. MALDONADO, AND MARIA R.                 §
MALDONADO,                                      §
                                                §
                      Plaintiffs,               §
                                                §
VS.                                             §    CIVIL ACTION NO. H-20-1484
                                                §
FIRSTSERVICE RESIDENTIAL, INC.,                 §
NATASHA BROWN, ROYAL BROOK                      §
COMMUNITY ASSOCIATION, INC.,                    §
FRIENDSWOOD DEVELOPMENT                         §
COMPANY, LLC, JOHN H. PALAMIDY,                 §
JR., CYNTHIA A. HILL, KORIE HEROLD,             §
JENNIFER MCKENRY,                               §
                                                §
                      Defendants.               §

                                     FINAL JUDGMENT

       On October 13, 2021, the court began a bench trial on Jose A. Maldonado’s and Maria R.

Maldonado’s injunctive claims for discrimination against FirstService Residential, Inc.

(“FirstService”), the Royal Brook Community Association, Inc. (the “Association”), Natasha

Brown, and Jennifer McKenry (the “Royal Brook Defendants”). The court also began, and

simultaneously held, with the parties’ consent, a jury trial on the Maldonados’ claims against John

H. Palamidy Jr. and Cynthia A. Hill and on John H. Palamidy Jr. and Cynthia A. Hill’s

counterclaims against the Maldonados.        Additionally, the court heard and considered the

Association’s request for injunctive relief against Jose and Maria Maldonado. On October 18,

2021, the bench trial and jury trial concluded. The jury returned a take-nothing verdict on the

claims and counterclaims, and the court accepted and entered the verdict.

       On October 20, 2021, after the conclusion of the bench trial and after hearing the arguments

of counsel, the court entered the Agreed Permanent Injunction.
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       Based on the pleadings, the stipulated facts, the evidence, the record, and the applicable

law, the court issued findings of fact and conclusions of law. The court orders as follows:

       1.      Jose and Maria Maldonado take nothing on their claims against John H. Palamidy,

       Jr., and Cynthia A. Hill.

       2.      Cynthia A. Hill takes nothing on her claim against Jose and Maria Maldonado.

       3.      John H. Palamidy takes nothing on his claim against Jose Maldonado.

       4.      The Agreed Permanent Injunction, entered as Docket Entry No. 233, on October

       20, 2021, grants in part the claims for injunctive relief by Jose and Maria Maldonado, and

       the Royal Brook Community Association, Inc. and FirstService Residential, Inc. No other

       injunctive relief is granted.

       5.      The Maldonados are not entitled to relief against Natasha Brown or Jennifer

       McHenry.

       6.      This court retains jurisdiction for the purpose of implementing and enforcing the

       Agreed Permanent Injunction, including to enter additional orders to effectuate the fair and

       orderly implementation of the injunction and to resolve disputes arising from or relating to

       the Agreed Permanent Injunction.

       6.      Each party will bear its own attorney’s fees and costs. This provision does not

       apply to future litigation that may be required to enforce the Agreed Permanent Injunction.

       7.      All parties submitted proposed final judgment orders. The parties did not identify

       any outstanding claims. The parties fully tried the claims for damages before the jury and

       for injunctive and declaratory relief before the court. The parties have waived any

       remaining claims that would have otherwise been compelled to arbitration. The claims for

       declaratory relief are mooted by this order.



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        All other relief not expressly provided is denied. This final judgment disposes of all claims

as to all parties.

        SIGNED on November 8, 2021, at Houston, Texas.


                                              _______________________________________
                                                           Lee H. Rosenthal
                                                    Chief United States District Judge




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